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           EXHIBIT 5
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From:             Joe Sibley
To:               Houghton-Larsen, M Annie
Cc:               Gottlieb, Michael; Governski, Meryl Conant; John Langford; Knoblett, John Tyler
Subject:          Re: Freeman v. Giuliani - December 21, 2022 M&C
Date:             Tuesday, December 27, 2022 9:01:11 AM



                                       *** EXTERNAL EMAIL ***

Annie: Please see below.

On Thu, Dec 22, 2022 at 8:24 AM Houghton-Larsen, M Annie <MHoughton-
Larsen@willkie.com> wrote:

  Joe,



  Thank you for the productive meet and confer yesterday. During our call, you
  acknowledged that the issues raised in our most recent deficiency letter (dated December 7)
  are not new and, in some instances, have been outstanding for months.



  Specifically you confirmed that Mr. Giuliani has made no effort to preserve or search his e-
  mail, computers, personal phones, social media accounts, messaging applications, or other
  electronic devices for documents responsive to Plaintiffs’ requests.


I am not aware of his preservation efforts. I am only aware that I have not received a
production from these devices.


  We again highlighted the necessity of Mr. Giuliani preserving and searching these
  repositories. You committed to attempting to speak with Mr. Giuliani in the coming days—
  which you indicated had been a challenge in the past—and to convey to him that he is
  obligated to comply with discovery preservation, collection, and production in this case,
  including to do so in advance of our scheduled deposition on January 25, 2023.


I have done so.



  We agreed to hold another meet and confer on January 6, 2023 to discuss the outcome of
  your conversation with Mr. Giuliani and whether Mr. Giuliani will commit to producing
  materials responsive to all of Plaintiff’s requests ahead of his deposition. As we discussed,
  Plaintiffs reserve all rights, including to hold the deposition open and to seek judicial
  intervention, if we do not receive a complete production by January 20, 2023.


Yes. Please provide a time for a conference later on January 6th.
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 Finally, we discussed holding Mr. Giuliani’s deposition in Fort Lauderdale as opposed to
 Palm Beach not only for convenience but also for greater privacy, and you said you would
 discuss this with Mr. Giuliani. Please confirm as soon as you are able to so we are able to
 plan accordingly.


I am confirming. Will let you know soon.



 Thank you. I hope you get some time to enjoy the holidays,


Thank you, yourself as well.



 Annie




 M.Annie Houghton-Larsen
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 Pronouns: she, her, hers



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